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                                 U.S. District Court [LIVE]
6/6/2022                     Western District of Texas (El Paso)
                    CRIMINAL DOCKET FOR CASE #: 3:22−mj−01282−ATB−1
  CD
                                            2:22-mj-02078-DUTY
        Case title: USA v. Glass                                     Date Filed: 05/27/2022
                                                                     Date Terminated: 06/03/2022

        Assigned to: Judge Anne T. Berton

        Defendant (1)
        Kevin Alan Glass                      represented by Michael John Khouri
        TERMINATED: 06/03/2022                               Khouri Law Firm, PLLC
                                                             8150 N. Central Expressway, 10th Floor
                                                             Dallas, TX 75206
                                                             (949) 336−2433
                                                             Fax: (949) 387−0044
                                                             Email: MKhouri@Khourilaw.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Retained

        Pending Counts                                       Disposition
        None

        Highest Offense Level (Opening)
        None

        Terminated Counts                                    Disposition
        None

        Highest Offense Level
        (Terminated)
        None

        Complaints                                           Disposition
        18:1546.F−FRAUD AND                                  Commitment to Central District of California, Los
        MISUSE OF VISAS/PERMITS                              Angeles Division. Case #2:22−MJ−2078−DUTY.



        Plaintiff
        USA                                          represented by Duty AUSA−El Paso
                                                                    U.S. Attorney's Office

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                                                              Email: usatxw−ecfepduty@usdoj.gov
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED

  Date Filed   # Page Docket Text
  05/26/2022   1    5 Arrest (Rule 5/Rule 32.1) Central District of California, Los Angeles Division,
                      Case # 2:22−mj−2078−DUTY as to Kevin Alan Glass (mg2) (Entered:
                      05/31/2022)
  05/27/2022   2       NOTICE OF ATTORNEY APPEARANCE: Michael John Khouri appearing for
                       Kevin Alan Glass (mg2) (Entered: 05/31/2022)
  05/27/2022   3       Minute Entry for proceedings held before Judge Anne T. Berton:Initial
                       Appearance in Rule 5(c)(3)/ Rule 32.1 Proceedings as to Kevin Alan Glass held
                       on 5/27/2022 (Minute entry documents are not available electronically.), Spanish
                       Language Interpreter NOT required as to Kevin Alan Glass (Court Reporter
                       ERO/ZOOM.) (mg2) (Entered: 05/31/2022)
  05/27/2022           ORAL ORDER OF TEMPORARY DETENTION: NO BOND SET as to Kevin
                       Alan Glass by Judge Anne T. Berton. (mg2) (Entered: 05/31/2022)
  05/27/2022   4       ORDER SETTING IDENTITY /PRELIMINDARY/DETENTION HEARING by
                       VIDEO ZOOM as to Kevin Alan Glass, ( Detention Hearing set for 6/2/2022
                       10:00 AM before Judge Anne T. Berton,, Identity Hearing set for 6/2/2022 10:00
                       AM before Judge Anne T. Berton,, Preliminary Hearing set for 6/2/2022 10:00
                       AM before Judge Anne T. Berton,), Order Regarding Due Process Protections
                       Act as to Kevin Alan Glass. Signed by Judge Anne T. Berton. (mg2) (Entered:
                       05/31/2022)
  05/27/2022   5       CJA 23 Financial Affidavit by Kevin Alan Glass (SEALED pursuant to
                       E−Government Act of 2002). (mg2) (Entered: 05/31/2022)
  06/01/2022   6       WAIVER − Rule 5/Rule 32.1 as to Kevin Alan Glass. (mg2) (Entered:
                       06/02/2022)
  06/03/2022   7       ORDER OF DETENTION: DETAIN WITHOUT BOND as to Kevin Alan Glass.
                       Signed by Judge Anne T. Berton. (mg2) (Entered: 06/06/2022)
  06/03/2022   8    4 REMOVAL ORDER as to Kevin Alan Glass. Signed by Judge Anne T. Berton.
                      (mg2) (Entered: 06/06/2022)
  06/03/2022   9    3 COMMITMENT TO ANOTHER DISTRICT/DIVISION as to Kevin Alan Glass.
                      Defendant committed to CENTRAL DISTRICT OF CALIFORNIA.. Signed by
                      Judge Anne T. Berton. (mg2) (Entered: 06/06/2022)




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